                             EXHIBIT Y




Case 3:23-cv-00243   Document 100-22   Filed 01/09/24   Page 1 of 2 PageID #: 1167
  From:            Robert MacGill
  To:              Steve Mintz; gmarchetti@tpmblaw.com
  Cc:              Andy Goldstein; John Jacobson; Kathy Klein; Patrick Sanders; Scott Klein; Scott Murray; Terence McCormick;
                   Todd Cole
  Subject:         AEO Designations by Guidepost
  Date:            Monday, January 8, 2024 2:42:32 PM


 Steve,

 We have now reviewed the Guidepost AEO designations. None of them is supported or
 supportable.

 I would like to discuss these AEO designations with you tomorrow before the hearing on
 January 10. Please let me know what time works for you tomorrow.

 Best regards.

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Case 3:23-cv-00243           Document 100-22                  Filed 01/09/24             Page 2 of 2 PageID #: 1168
